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ACCUMULATION PLAN

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

STEVEN BENHAYON, Case No. CV08-06090 FMC(AGRx)
Plaintiff, DEFENDANTS’ SUPPLEMENTAL
REPLY BRIEF REGARDING
V. PLAINTIFF’S CLAIM FOR
BENEFITS UNDER THE ROYAL
ROYAL BANK OF CANADA, a BANK OF CANADA US WEALTH
Canadian company, business form ACCUMULATION PLAN
unknown; RB ALTH
MANAGEMENT COMPANY, formerly | DJ: Florence-Marie Cooper
RBC DAIN RAUSCHER, INC., Courtroom: (Roybal) 750
business form unknown; THE ROYAL MJ: Alicia G. Rosenberg
BANK OF CANADA US WEALTH Courtroom: (Spring) 23
ACCUMULATION PLAN, formerly
known as RBC Dain Rauscher Wealth Discovery Cut-Off: September 30, 200
Accumulation Plan; and, DOES 1 Pre-trial Conference: January 25, 2010
through 20, Trial: February 16, 2010
Defendants.

 

 

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UNDER THE ROYAL BANK OF CANADA US WEALTH ACCUMULATION PLAN

 

 

 
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I. PRELIMINARY STATEMENT
In accordance with this Court’s August 10, 2009 Order On Plaintiff’s Ex Parte

Application And Amended Briefing Schedule, Defendants Royal Bank of Canada,
RBC Capital Markets Corporation (incorrectly named and sued as “RBC Wealth
Management Company, formerly RBC Dain Rauscher, Inc..”), and The Royal Bank
of Canada US Wealth Accumulation Plan (collectively “Defendants”) hereby submit
their Supplemental Reply Brief in support of their Motion for Partial Summary
Judgment On Plaintiff’s Claim For Benefits Under The Royal Bank of Canada US
Wealth Accumulation Plan (the “Motion”).

Defendants previously filed a reply brief in support the Motion on August 5,
2009. After that brief was filed, this Court issued its August 10, 2009 Order, which
amended the briefing schedule for the ERISA portion of the case and provided that
Defendants’ reply brief would be due September 28, 2009, rather than August 5,
2009, as previously set by the Court.

Defendants’ reply brief filed on August 5, 2009 addresses those matters raised
in Plaintiff's Opening Brief filed on July 22, 2009. To avoid needlessly expanding
the record, this brief will be limited to addressing developments in this litigation
since that brief was filed which may be relevant to the Court’s decision on the
Motion. Defendants respectfully refer the Court to their prior submissions in support

of the Motion for all matters not addressed herein.

I. DEFENDANTS. STYLED THEIR OFENING BRIEF AS A MOTION
) PLAINTIFF.
After Defendants filed their reply brief, this Court issued its August 10, 2009

Order stating that Defendants had ignored the Court’s May 4, 2009 Minute Order by

 

 

filing a motion for summary judgment rather than an Opening Brief on the question
of ERISA benefits. Defendants never intended to disregard this Court’s directions
and were in fact attempting to comply with those directions in good faith. Based on

the May 4, 2009 Minute Order, Defendants understood that the Court had requested

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briefing from the parties which would resolve “the ERISA portion of the case.”
Defendants further believed that, if that portion of the case were resolved in their
favor, they would be entitled to judgment on Plaintiffs claim for benefits under the
Royal Bank of Canada U.S. Wealth Accumulation Plan (the “WAP”) and wished to
make an affirmative request for such relief. Arguably then, Defendants’ opening
brief would be, in substance, a dispositive motion regarding that claim to which the
requirements of Federal Rule of Civil Procedure 56 and Local Rules 56-1 through
56-4 might conceivably apply. Hence, out of an abundance of caution, and to avoid
any possible waiver of its right to judgment should the Court resolve the ERISA
portion of the case in its favor, Defendants styled their opening brief as a motion for
partial summary judgment and submitted the supporting documents required for the
Court to rule on such a motion.

Defendants viewed this approach as a conservative one which could not
possibly prejudice Plaintiff. Styling their opening brief as a motion for partial
summary judgment would not require Plaintiff to meet any unanticipated legal issues
or evidence, since the Court had already announced that these briefs would fully
resolve the merits of Plaintiff's claim for benefits under the WAP. Moreover, given
that these briefs were intended to resolve the ERISA portion of the case, Plaintiff
was already required to make the necessary showing to prevail on the merits, which
is more than the showing that would be required to defeat a motion for summary
judgment. Additionally, since Plaintiff had already enjoyed more than four months
to conduct discovery, he had more than sufficient opportunity to develop whatever
evidence he felt he needed to make this showing. Finally, the stipulated briefing
schedule allowed Plaintiff two weeks to prepare his responsive brief, more than the
time provided under the Federal Rules of Civil Procedure or the Local Rules of this
Court to oppose a motion for summary judgment. Consequently, a motion for partial
summary judgment would not impose any burdens on Plaintiff that he was not

already required to meet and he would not be unduly prejudiced if Defendants

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proceeded in this manner.

Based on the Court’s August 10, 2009 Order, Defendants now understand that
the Court wished to resolve the ERISA portion of the case by way of briefing, but
without resort to the usual procedures for obtaining summary judgment. Defendants
apologize for any confusion they have created by their earlier misunderstanding and
have complied with the provisions of that Order. Moreover, Defendants have no
objection should the Court wish to conduct a court trial of Plaintiff's claim for
benefits under the WAP based on the existing court record, in the manner provided

in Kearney v. Standard Ins. Co., 175 F.3d 1084, 1094-95 (9" Cir. 1999).
I. THE FURTHER DISCOVERY CONDUCTED BY PLAINTIFF AFTER
THIS COURT’S AUGUST 10, 2009 ORDER DOES NOT AFFECT THE

COURT'S RULING ON THE ERISA PORTION OF THE CASE.

In its August 10, 2009 Order, this Court granted Plaintiff leave to take the
deposition of Gabriela Sikich. Defendants complied and the deposition was
completed on August 28, 2009. At the deposition, Defendants also produced 290
pages of documents at the deposition, in response to various Requests for Production
included with the Notice of Deposition. During this period, Defendants also
responded to Plaintiff's Special Interrogatories (Set Two) and provided Plaintiff with
unredacted versions of 43 pages previously produced in redacted form. No other
discovery has taken place since the Court issued its August 10, 2009 Order.

While Plaintiff may offer some of the testimony, documents and/or responses
obtained from this discovery for the Court’s consideration, none of it has any bearing
on the issues the Court must decide at this juncture. The ERISA portion of this case
is a straight-forward claim by Plaintiff that he was improperly denied benefits under
the WAP, which both sides have agreed to treat as a pension plan subject to ERISA
for purposes of this Motion. Whether an employee is entitled to benefits under an
ERISA plan “stands or falls by the terms of the plan.” Kennedy v. Plan Adm'r for
DuPont Sav. and Inv. Plan, __ U.S. __129 S.Ct. 865, 875 (2009) (internal

quotation marks and citation omitted). Thus, if the provisions of the WAP are

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unambiguous, which they are, then Plaintiffs claim must be rejected, and any
argument that those terms are somehow unreasonable or were set up “in bad faith” is
simply irrelevant. Aramony v. United Way Replacement Benefit Plan, 191 F.3d 140,
149 (2d. Cir. 1999) (“As a general matter, unambiguous language in an ERISA plan
must be interpreted and enforced in accordance with its plain meaning”); Carr v.
First Nationwide Bank, 816 F.Supp. 1476, 1493 (N.D.Cal.,1993 (where plan
language is unambiguous, its natural meaning is conclusive). Specifically, any
appeal to fiduciary duties misses the mark, since an ERISA plan administrator is
bound to pay benefits in accordance with the terms of the plan, and any departure
from those terms would constitute a breach the administrator’s statutory duties.
Kennedy, __U.S.__,129 S.Ct. at 875. Hence, to adjudicate Plaintiffs claim,
this Court need only review the terms of the WAP plan document (specifically
Section 4), which is already in evidence, and apply them to the undisputed facts
concerning the date of Plaintiff's termination and the vested status of his WAP
benefits on that date. Any further evidence Plaintiff may offer cannot change the
clear result that the benefits he seeks were forfeited because his employment with
Defendants ended before those benefits vested.

Any further evidence Plaintiff may offer is unavailing even if the Court finds
that the relevant terms of the WAP are ambiguous or that factual determinations are
required before those terms can be applied to Plaintiff's circumstances. Since the
WAP confers discretion on the WAP Committee to administer claims — a point
Plaintiff does not dispute — its decision on these matters is reviewable in court only
for an abuse of discretion. Abatie v. Alta Life & Health Ins. Co., 458 F.3d 955, 965
(9" Cir. 2006). Such review, moreover, is limited to the administrative record which
the plan administrator had before it at the time the decision was made. Jd. at 970.
That record has already been introduced into evidence and authenticated, and
nothing obtained in subsequent discovery alters its scope. Thus, any additional

evidence Plaintiff may offer in connection with his reply brief would be evidence

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that was not part of the administrative record, which this Court cannot consider to
determine Plaintiffs entitlement to the benefit he seeks. Jd.

Nor can Plaintiff escape the bar on evidence outside the administrative record
by suggesting that the evidence he has obtained is somehow relevant to demonstrate
that the WAP Committee acted under a conflict of interest. While a court may
consider evidence outside the administrative record for this limited purpose, see id.,
the goal of such inquiry is only to determine “the degree to which the conflict
appears improperly to have influenced a plan administrator’s decision.” Montour v.
Hartford Life & Accident Ins. Co.,_ __ F.3d __, 2009 WL 2914516 at *5. Here,
however, there is no evidence of any such improper influence. To the contrary, Ms.
Sikich testified both in her declaration submitted with Defendants’ reply papers and
at deposition that none of the members of the WAP Committee responsible for
deciding Plaintiffs entitlement to benefits under the WAP (i) were employed by the
entity responsible for paying those benefits, or (ii) were aware of the financial
consequences of their decision. (Second Decl. of G. Sikich In Support Of
Defendants’ Motion for Partial Summary Judgment [dkt. # 39-2] at 2:4-13; Sikich
Depo.' at 45:17-47:22, 59:9-60:20 & 61:24-63:7.) Discovery, moreover, has not
revealed any evidence that these decision-makers failed to follow established
procedures in considering Plaintiffs claim, disregarded or downplayed materials
submitted by Plaintiff, or gave undue weight to opposing evidence. Thus, there are
no facts or circumstances suggesting that a conflict of interest tainted the
administrative decision-making process and no reason to conclude that an abuse of
discretion occurred.

Finally, any further evidence Plaintiff may offer pertaining to the WAP’s top-
hat status is irrelevant since the same framework applies to the judicial review of a

claim for benefits “for all covered plans, top hat or otherwise.” Sznewajs v. U.S.

 

_' The relevant excerpts of the Deposition of Gabriela Sikich are attached as
Exhbit A to the Second Declaration of Christopher W. Decker In Support Of

Defendants’ Motion For Partial Summary Judgment, filed concurrently herewith.
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Bancorp Amended and Restated Supplemental Benefits Plan, 572. F.3d 727, 734 (o"
Cir. 2009). Specifically, a participant’s entitlement to benefits is determined solely
by the terms of the plan document and the plan administrator’s decision is
reviewable only for an abuse of discretion. Jd. at passim. Indeed, the only difference
between the two types of plans which Plaintiff has suggested may affect the outcome
of this litigation is that the administrators of ERISA plans (other than top-hat plans)
are subject to ERISA fiduciary duty rules. However, as explained above, that
difference is immaterial here, since, in reviewing a claim for benefits, ERISA plan
administrators must exercise their fiduciary duties in accordance with the terms of
the plan document. See, e.g., Kennedy, _US.__,129 S.Ct. at 875.
Accordingly, in this instance, the analysis of Plaintiffs claim for benefits is the same
regardless of whether the WAP is a top-hat plan or not, and the Court need not even
resolve whether the WAP falls within the top-hat plan exemption.

IV. THE COURT SHOULD DISREGARD PLAINTIFF’S OBJECTIONS TO
THE SECOND DECLARATION OF GABRIELA SIKICH.

 

The Court’s briefing schedule for the ERISA portion of the case provided that
the parties would submit simultaneous opening and reply briefs, which necessarily
forecloses either side from responding to the other’s second submission.
Nonetheless, after Defendants filed their reply papers on August 5, 2009, which
included the Second Declaration of Gabriela Sikich In Support Of Defendant’s
Motion For Partial Summary Judgment, Plaintiff filed evidentiary objections to that
declaration. This Court should disregard the objections since they exceed the scope
of the briefing requested by the Court.

In any event, Plaintiff's objections are without merit. Plaintiff objects that Ms.
Sikich is “wholly unqualified to render any testimony as to the administration,
management, or operation of the WAP Committee” because she is not a member of
that committee. (PI.’s Obj. to Second Decl. of G. Sikich [dkt. # 41] at 2:14-2:28.]

However, Ms. Sikich does not testify to any of these matters in her Second

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Declaration, but only provides information regarding the percentage of Defendants’
workforce eligible to participate in the WAP, the average compensation of those
eligible to participate and Defendant’s workforce generally, and the membership of
the WAP Committee. She further testifies in her declaration that this information is
based on her own personal knowledge or her review of Defendants’ business records,
establishing the necessary foundation for that testimony and an exception to the
hearsay rule. (Second Decl. of G. Sikich [dkt. # 39-2] at 1:5-8.)

Plaintiff further objects to paragraphs 6-8 of the Ms. Sikich’s Second
Declaration on the grounds that her testimony regarding the contents of Defendants’
business records constitutes hearsay, violates the best evidence rule and is given
without adequate personal knowledge. However, Ms. Sikich is not attempting to
establish the contents of those records, but is rather relying on them to establish
certain facts regarding the percentage of employees eligible to participate in the
WAP, their average compensation, and the average compensation of Defendants’
workforce generally. Since those business records qualify for an exception to the
hearsay rule, Ms. Sikich may rely on them to establish the facts which they describe.
Her personal knowledge of the contents of these records is provided by her own
testimony in the declaration. (Second Decl. of G. Sikich [dkt. # 39-2] at 1:12-18.)

Finally, Plaintiff objects that Ms. Sikich’s Second Declaration improperly
introduces new evidence not presented at the time of Defendant’s opening brief.
However, the facts in Ms. Sikich’s Second Declaration respond directly to the
arguments advanced by Plaintiff in his opening brief, specifically that (i) the WAP is
not a top-hat plan because participation is not limited to a select group of
management or highly compensated employees, and (ii) the members of the WAP
Committee who decided Plaintiff's claim for benefits had a financial incentive to
deny that claim. Accordingly, the declaration is proper as a rebuttal of the evidence

offered by Plaintiff in connection with his opening brief.

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Vv. CONCURRENTLY BERE WIE, DEFENDANTS ARE FILING AN
CORRECT A COMPUTATIONAL ERROR IN THE DOCUMENT —
PREVIOUSLY FILED WITH THE COURT.

After completing their filing on August 5, 2009, Defendants became aware
that the Second Declaration of Gabriela Sikich filed concurrently with Defendants’
reply papers contained a computational error. Specifically, the average annual
compensation of WAP-eligible employees in WAP plan years 2003 through 2007
had been understated. The corrected numbers are provided in the Amended Second
Declaration of Gabriela Sikich In Support Of Defendants’ Motion For Partial
Summary Judgment On Plaintiff’s Claim For Benefits Under The Royal Bank Of
Canada U.S. Wealth Accumulation Plan, which is being filed concurrently herewith.

In its reply papers, Defendants relied on the incorrect data only to support their
argument that WAP participants qualify as “highly-compensated employees”
because they earn at least twice the average for Defendants’ employees generally and
in excess of $100,000 per year. (Defs.’ Reply Memo. [dkt. # 39] at 5:17-6:9.) Since
this is all the more true based on the corrected data, the error in the data previously
provided is not material.

Defendants served the Amended Second Declaration of Gabriela Sikich on
Plaintiff on August 25, 2009, in advance of the deposition of Ms. Sikich. (See
Amended Second Declaration of G. Sikich, filed concurrently herewith, at 2.) Thus,
Plaintiff has had a full opportunity to inspect the amended declaration and examine
Ms. Sikich regarding its contents. Consequently, Plaintiff has not been prejudiced by
the error or subsequent correction.

VI. CONCLUSION

For all foregoing reasons, in addition to those set forth in the papers previously
filed by Defendants on July 22, 2009 and August 5, 2009, this Court should
adjudicate Plaintiff's claim for benefits under the WAP in favor of Defendants and

enter judgment accordingly.

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DATED: September 28, 2009

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OGLETREE, DEAKINS, NASH, SMOAK
& STEWART, P.C.

By: __/s/ Christopher W. Decker
Christopher W. Decker

Attorneys for Defendants
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CAPITAL MARKETS CORPORATION
incorrectly named and sued as “RBC
ALTH MANAGEMENT COMPANY,
formerly RBC DAIN RAUSCHER,
INC.”), and THE ROYAL BANK OF
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